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                         IN THE UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF NEW MEXICO

ROBERT A. GARCIA,

                       Plaintiff,

v.                                                                  CIV No. 18-0047 KG/LF

UNITED STATES OF AMERICA, and
UNITED STATES DEPARTMENT OF
VETERANS AFFAIRS,

                       Defendants.

                                          FINAL JUDGMENT

        Pursuant to Fed. R. Civ. P. 58(a), and consistent with the Court’s Order dismissing

Plaintiff’s case,

        IT IS ORDERED that this case is DISMISSED without prejudice.



                                                     __________________________________
                                                     UNITED STATES DISTRICT JUDGE
